       Case 1:23-md-03072-CMH-WEF Document 29 Filed 07/11/23 Page 1 of 1 PageID# 1131


                                             IN THE UNITED STATES DISTRICT COURT
                                             FOR THE EASTERN DISTRICT OF VIRGINIA

      APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D)AND LOCAL
                                                              CRIMINAL RULE 57.4
                     In Case Number 2023 MDL 3072        ^ Case Name in Re crash into the Java Sea on Jan. 9, 2021
                     Party Represented by Applicant: Plalntlffe Handayanl. Masrizal, Arifni, and Wahyuni

To: The Honorable Judges ofthe United States District Court for the Eastem District of Virginia

                                                            PERSONAL STATEMENT


FULL NAME(no initials, please) Sanjiv Nand Singh
Bar Identification Number ca 193525                    state California
Firm Name Sanjlv N. Slngh, a Professional Law Corporation
Firm Phone #(650)389-2255                           Direct Dial #                                    ^FAX #
E-Mail Address ssingh@sanjivnsingh.com
Office IV^ailing Address 'l^60 S. EI Camlno Real Suite 503, San Mateo, OA 94402

Name(s)offederal district court(s) in which 1 have been admitted n.d. Caiifomia: e.d. caiifomia; n.d. Illinois(Pro Hac vice)

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar ofthe Eastem District of Virginia.

1 have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member ofthe bar.


I hereby certify that, within ninety(90)days before the submission ofthis application, 1 have read the Local Rules ofthis Court
and that my knowledge ofthe Federal Rules of Civil Procedure,the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.


I am n am not Ha full-time employee ofthe United States of America,and if so, request exemption from the admission fee.
                                                                                                                           -

                                                                                                     ... Signature)
                                                                                          "(Aispiicant's                       ^

I, the undersigned, do certify that I am a member ofthe bar ofthis Court, not related to the applicant; that I know the applicant
personally,that the said applicant possesses all ofthe qualifications required for admission to the bar ofthis Court; that I have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.


                                                         (Signature)                                                  (Date)

                                                        (Typed or Printed Name)                                       (VA Bar Number)
Court Use Only:         \k
                               0
Clerk's Fee Paid rJI or Exemption Granted Q

The motion for admission is GRANTED IPT^ DENIED Fl


                            (Judge's Signature)                                                     (DAte) /          1
